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                      Exhibit 11
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            Statement of Maine Attorney General Aaron
            Frey on Supreme Court Decision in Carson
            v. Makin
            June 21, 2022

            FOR IMMEDIATE RELEASE

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                                     Statement of Maine Attorney General Aaron Frey on
                                         Supreme Court Decision in Carson v. Makin

            AUGUSTA – Maine Attorney General Aaron Frey expressed his disappointment today with a
            United States Supreme Court decision, issued this morning, striking down a Maine law
            prohibiting religious schools from receiving public funds. Approximately 5,000 Maine children
            live in districts that neither have a public school nor contract with a school in a nearby district.
            To ensure that these children have access to a free public education, they are permitted to attend at
            public expense a public or private school of their choice. Public funds cannot be used to attend a
            private school that promotes religion because such schools, by definition, do not provide the
            equivalent of a public education.

            Several families who wanted to send their children to religious schools at taxpayer expense
            challenged the law, arguing that it violated their constitutional rights, including their First
            Amendment right to the free exercise of religion. Both the federal court in Maine and a
            unanimous panel of the First Circuit Court of Appeals rejected the challenge and upheld the law.
             In today’s decision, a divided Supreme Court struck down the law, rejecting Maine’s argument
            that the purpose of the tuition program was to provide a public education for students who would
            otherwise be without, and concluding that Maine had created a school choice program that
            allowed a group of parents to select the secondary school of their choice. As a result, the Court
            held that their recent precedent dictates that excluding religious schools violates the Free Exercise
            Clause. Justices Stephen Breyer, Sonia Sotomayor, and Elena Kagan dissented, noting that the
            Court had effectively eliminated the notion of their being any play in the joints between the
            Establishment Clause and the Free Exercise Clause and expressing concern that this decision
            would open the door to claims that states must fund the religious equivalent of other public
            programs.
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            “I am terribly disappointed and disheartened by today’s decision,” said AG Frey. “Public
            education should expose children to a variety of viewpoints, promote tolerance and
            understanding, and prepare children for life in a diverse society. The education provided by the
            schools at issue here is inimical to a public education. They promote a single religion to the
            exclusion of all others, refuse to admit gay and transgender children, and openly discriminate in
            hiring teachers and staff. One school teaches children that the husband is to be the leader of the
            household. While parents have the right to send their children to such schools, it is disturbing
            that the Supreme Court found that parents also have the right to force the public to pay for an
            education that is fundamentally at odds with values we hold dear. I intend to explore with
            Governor Mills’ administration and members of the Legislature statutory amendments to address
            the Court’s decision and ensure that public money is not used to promote discrimination,
            intolerance, and bigotry.”

            While the Court’s decision paves the way for religious schools to apply to receive public funds, it
            is not clear whether any religious schools will do so. Educational facilities that accept public
            funds must comply with anti-discrimination provisions of the Maine Human Rights Act, and this
            would require some religious schools to eliminate their current discriminatory practices.
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